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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 DISTRICT OF MONTANA

 Case number (if known): 19-________________ Chapter you are filing under:
                                              O Chapter 7
                                               Chapter 11
                                               Chapter 12
                                               Chapter 13

                                                                                                             Check if this is an amended filing


Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together - called a joint case - and in
joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either
debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases,
one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supply correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:         Identify Yourself

                               About Debtor1:                                                          About Debtor 2 (Spouse Only in a Joint Case):

 1. Your full name             Mark                                                                    ____________
                               First Name                                                              First Name
 Write the name that is on
 your government-issued        Anthony                                                                 ____________
 picture identification        Middle Name                                                             Middle Name
 (example, your driver’s
 license or passport).         Cybulski                                                                ____________
                               Last Name                                                               Last Name
 Bring your picture
 identification to your                                                                                ____________
 meeting with the Trustee      Suffix (Sr., Jr., II, III)                                              Suffix (Sr., Jr., II, III)


 2. All other names you
 have used in the last 8
 years

 Include your married or
 maiden names.


 3. Only the last 4 digits     xxx-xx-1206                                                             xxx-xx-
 of your Social Security
 number or federal
 Individual Taxpayer
 Identification number
 (ITIN)




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                     Page 1
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Debtor 1 Mark Anthony Cybulski                                                                        Case number (if known) __________________________
         First Name, Middle Name, Last Name


                             About Debtor 1:                                                      About Debtor 2 (Spouses Only in a Joint Case):


 4. Any business names       O I have not used any business names or EINs.                         I have not used any business names or EINs.
 and Employer
 Identification Numbers      ________________________________________                             ________________________________________
 (EIN) you have used in      Business Name                                                        Business Name
 the last 8 years

 Include trade names and                                                                          ____    ____    -   ____    ____     ____    ____
 doing business as names     ____    ____    -   ____    ____    ____    ____                     EIN
                             EIN




                                                                                                  If Debtor 2 lives at a different address:
 5. Where you live
                             108 Wheatfield Lane                                                  _______________________________________________
                             Belgrade MT 59714                                                    Number          Street

                             Gallatin
                             County                                                               ______________________________________________
                                                                                                  City             State                 ZIP Code

                                                                                                  ______________________________________________
                                                                                                  County

                             If you mailing address is different from the one above, fill         If Debtor 2's mailing address is different from yours, fill it
                             it in here. Note that the court will send any notices to you at      in here. Note that the court will send any notices to this
                             this mailing address.                                                mailing address.

                             _________________________________________________                    _______________________________________________
                             Number          Street                                               Number          Street


                             _________________________________________________                    _______________________________________________
                             City             State                   ZIP Code                    City             State                  ZIP Code

                             _________________________________________________                    ______________________________________________
                             County                                                               County

 6. Why you are              Check one:                                                           Check one:
 choosing this district to
 file for bankruptcy         O Over the last 180 days before filing this petition, I have lived    Over the last 180 days before filing this petition, I have lived
                             in this district longer than in any other district.                  in this district longer than in any other district.

                              I have another reason. Explain. (See 28 U.S.C. § 1408.)             I have another reason. Explain. (See 28 U.S.C. § 1408.)

                             ________________________________________________                     ________________________________________________

                             ________________________________________________                     ________________________________________________




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                  Page 2
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Debtor 1 Mark Anthony Cybulski                                                                     Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:        Tell the Court About Your Bankruptcy Case


 7. The chapter of the Bankruptcy    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing for
 Code you are choosing to file       Bankruptcy (Form 2010). Also, go to the top of page 1 and check the appropriate box.
 under
                                     O Chapter 7

                                      Chapter 11

                                      Chapter 12

                                      Chapter 13

 8. How you will pay the fee         O I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more
                                     details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check,
                                     or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or
                                     check with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to
                                     Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived. (You may request this option only if you are filing for Chapter 7. By law, a judge
                                     may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty
                                     line that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you
                                     must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


 9. Have you filed for bankruptcy    O No
 within the last 8 years?
                                      Yes. District ___________________________ When _________________________ Case number _____________
                                                                                     MM / DD / YYYY
                                            District ___________________________ When _________________________ Case number _____________
                                                                                     MM / DD / YYYY
                                            District ___________________________ When _________________________ Case number _____________
                                                                                     MM / DD / YYYY


 10. Are any bankruptcy cases        O No
 pending or being filed by a
 spouse who is not filing this        Yes. Debtor _____________________________________ Relationship to you ___________________________
 case with you, or by a business
 partner, or by an affiliate?                 District ____________________________ When __________________Case number, if known ____________
                                                                                         MM / DD / YYYY

                                              Debtor _____________________________________ Relationship to you ___________________________

                                              District ____________________________ When __________________Case number, if known ___________
                                                                                        MM / DD / YYYY

 11. Do you rent your residence?     O No. Go to line 12.

                                      Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                               No. Go to line 12.

                                               Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                bankruptcy petition.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                Page 3
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Debtor 1 Mark Anthony Cybulski                                                                            Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 3:           Report About Any Businesses You Own as a Sole Proprietor


 12. Are you a sole proprietor of             O No. Go to Part 4.
 any full - or part-time business?
                                               Yes. Name and location of business

 A sole proprietorship is a business          _____________________________________________________________________________________
 you operate as an individual, and is         Name of business, if any
 not a separate legal entity such as
 a corporation, partnership, or LLC.          ______________________________________________________________________________________
                                              Number               Street
 If you have more than one sole
 proprietorship, use a separate               ______________________________________________             ________________ ______________________
 sheet and attach it to this petition.        City                                                       State            Zip Code

                                              Check the appropriate box to describe your business:

                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               None of the above


 13. Are you filing under Chapter             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
 11 of the Bankruptcy Code and                appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
 are you a small business                     sheet, statement of operations, cash-flow statements, and federal income tax return of if any of these documents do
 director?                                    not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

 For a definition of small business debtor,   O No. I am not filing Chapter 11.
 see 11 U.S.C. § 101(51D).
                                               No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                              Code.

                                               Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                              Code.


 Page 4:           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                   O No
 property that poses or is alleged
 to pose a threat of imminent and              Yes. What is the hazard? ____________________________________________________________________
 identifiable hazard to public
 health or safety? Or do you own              If immediate attention is needed, why is it needed? ___________________________________________________
 any property that needs
 immediate attention?                         Where is the property?

 For example, do you own perishable           ______________________________________________________________________________________
 goods, or livestock that must be fed, or a   Number               Street
 building that needs urgent repairs?

                                              ______________________________________________             ________________ ______________________
                                              City                                                       State            Zip Code




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                            Page 4
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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling


 15. Tell the court whether        About Debtor 1:                                                  About Debtor 2 (Spouses Only in a Joint Case):
 you have received a
 briefing about credit             You must check one:                                              You must check one:
 counseling.
                                   O I received a briefing from an approved credit                   I received a briefing from an approved credit
 The law requires that you         counseling agency within the 180 days before I filed             counseling agency within the 180 days before I filed this
 receive a briefing about          this bankruptcy petition, and I received a certificate of        bankruptcy petition, and I received a certificate of
 credit counseling before you      completion.                                                      completion.
 file for bankruptcy. You must
 truthfully check one of the       Attach a copy of the certificate and the payment plan, if        Attach a copy of the certificate and the payment plan, if any,
 following choices. If you         any, that you developed with the agency.                         that you developed with the agency.
 cannot do so, you are not
 eligible to file.                  I received a briefing from an approved credit                   I received a briefing from an approved credit
                                   counseling agency with the 180 days before I filed this          counseling agency with the 180 days before I filed this
 If you file anyway, the court     bankruptcy petition, but I do not have a certificate of          bankruptcy petition, but I do not have a certificate of
 can dismiss your case, you        completion.                                                      completion.
 will lose whatever filing fee
 you paid, and your creditors      Within 14 days after you file this bankruptcy petition, you      Within 14 days after you file this bankruptcy petition, you
 can begin collection activities   MUST file a copy of the certificate and payment plan, if any.    MUST file a copy of the certificate and payment plan, if any.
 again.
                                    I certify that I asked for credit counseling services           I certify that I asked for credit counseling services from
                                   from an approved agency, but was unable to obtain                an approved agency, but was unable to obtain those
                                   those services during the 7 days after I made my                 services during the 7 days after I made my request, and
                                   request, and exigent circumstances merit a 30-day                exigent circumstances merit a 30-day temporary waiver of
                                   temporary waiver of the requirement.                             the requirement.

                                   To ask for a 30-day temporary waiver of the requirement,         To ask for a 30-day temporary waiver of the requirement,
                                   attach a separate sheet explaining what efforts you made to      attach a separate sheet explaining what efforts you made to
                                   obtain the briefing, why you were unable to obtain the           obtain the briefing, why you were unable to obtain the briefing,
                                   briefing, why you were unable to obtain it before you filed      why you were unable to obtain it before you filed for
                                   for bankruptcy, and what exigent circumstances required          bankruptcy, and what exigent circumstances required you to
                                   you to file this case.                                           file this case.

                                   Your case may be dismissed if the court is dissatisfied with     Your case may be dismissed if the court is dissatisfied with
                                   your reasons for not receiving a briefing before you filed for   your reasons for not receiving a briefing before you filed for
                                   bankruptcy.                                                      bankruptcy.
                                   If the court is satisfied with your reasons, you must still      If the court is satisfied with your reasons, you must still
                                   receive a briefing within 30 days after you file. You must       receive a briefing within 30 days after you file. You must file a
                                   file a certificate from the approved agency, along with a        certificate from the approved agency, along with a copy of the
                                   copy of the payment plan you developed, if any. If you do        payment plan you developed, if any. If you do not do so, your
                                   not do so, your case may be dismissed.                           case may be dismissed.
                                   Any extension of the 30-day deadline is granted only for         Any extension of the 30-day deadline is granted only for cause
                                   cause and is limited to a maximum of 15 days.                    and is limited to a maximum of 15 days.

                                    I am not required to receive a briefing about credit            I am not required to receive a briefing about credit
                                   counseling because of:                                           counseling because of:

                                    Incapacity. I have a mental illness or a mental                 Incapacity. I have a mental illness or a mental deficiency
                                   deficiency that makes me incapable of realizing or making        that makes me incapable of realizing or making rational
                                   rational decisions about finances.                               decisions about finances.

                                    Disability. My physical disability causes me to be              Disability. My physical disability causes me to be unable
                                   unable to participate in a briefing in person, by phone, or      to participate in a briefing in person, by phone, or through the
                                   through the internet, even after I reasonably tried to do so.    internet, even after I reasonably tried to do so.

                                    Active duty. I am currently on active military duty in a        Active duty. I am currently on active military duty in a
                                   military combat zone.                                            military combat zone.

                                   If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                   about credit counseling, you must file a motion for waiver of    credit counseling, you must file a motion for waiver of credit
                                   credit counseling with the court.                                counseling with the court.




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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 6:        Answer These Questions for Reporting Purposes


 16. What kind of debts do       16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
 you have?                       individual primarily for a personal, family, or household purpose.”

                                  No. Go to line 16b.
                                 O Yes. Go to line 17.

                                 16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a business
                                 or investment or through the operation of the business or investment.

                                 O No. Go to line 16c.
                                  Yes. Go to line 17.

                                 16c. State the type of debts you owe that are not consumer debts or business debs.

                                 ___________________________________________________________________.

 17. Are you filing under         No. I am not filing under Chapter 7. Go to line 18.
 Chapter 7?
                                 O Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
 Do you estimate that after      are paid that funds will be available to distribute to unsecured creditors.
 any exempt property is
 excluded and                    O No
 administrative expenses
 are paid that funds will be      Yes
 available for distribution to
 unsecured creditors?

 18. How many creditors do       O 1-49                                        1,000-5,000                                  25,0001-50,000
 you estimate that you owe?       50-99                                       5,001-10,000                                 50,001-100,000
                                  100-199                                     10,001-25,000                                More than 100,000
                                  200-999

 19. How much do you              $0-$50,000                                  $1,000,001-$10 million                       $500,000,001-$1 billion
 estimate your assets to be       $50,001-$100,000                            $10,000,001-$50 million                      $1,000,000,001-$10 billion
 worth?                          O $100,001-$500,000                           $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                  $500,001-$1 million                         $100,000,001-$500 million                    more than $50 billion

 20. How much do you              $0-$50,000                                  $1,000,001-$10 million                       $500,000,001-$1 billion
 estimate your liabilities to     $50,001-$100,000                            $10,000,001-$50 million                      $1,000,000,001-$10 billion
 be?                             O $100,001-$500,000                           $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                  $500,001-$1 million                         $100,000,001-$500 million                    more than $50 billion


 Party 7:       Sign Below


 For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, Unites States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                 W /s/ Mark Anthony Cybulski                                      W
                                    Signature of Debtor 1                                        Signature of Debtor 2

                                    Executed on April 8, 2019                                  Executed on __________________
                                               MM / DD / YYYY                                                MM / DD / YYYY

Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                  Page 6
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Debtor 1 Mark Anthony Cybulski                                                                     Case number (if known) __________________________
         First Name, Middle Name, Last Name


 For your attorney, if you    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
 are represented by one       under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each Chapter for
                              which the person is eligible. I also certify that I have deliverred to the debtor(s) the noticed required by 11 U.S.C. § 342(b)
 If you are not represented   and, in a case in which § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an
 by an attorney, you do not   inquiry that the information in the schedules filed with the petition is incorrect.
 need to file this page.
                              W Stuart R. Whitehair                                                Date April 8, 2019
                                 Signature of Attorney for Debtor                                       MM / DD / YYYY

                              Stuart R. Whitehair
                              Printed Name

                              Stuart R. Whitehair, P.C.
                              Firm Name

                              2123 Durston Road, Suite 17
                              Number Street

                              Bozeman MT              59718
                              City    State           ZIP Code

                              Contact phone: 406-587-4200 Email address: stuartwhitehair@gmail.com

                              3069               Montana
                              Bar number         State




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                Page 7
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  Fill in this information to identify your case:

  Debtor 1              Mark Anthony Cybulski

  Debtor 2
  (Spouse, if filing)
                        ____________


  United States Bankruptcy Court for the District of Montana

  Case number _______________________________

                                                                                                                                         Check if this is an amended filing
Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information
                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill
out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you
must fill out a new Summary and check the box at the top of this page.


  Part 1:                  Summarize Your Assets

                                                                                                                                                                          Your assets
                                                                                                                                                                          Value of what you own


1. Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              $360,000.00

                  1b. Copy line 62, Total personal property, from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        $14,544.11

                  1c. Copy line 63, Total of all property on Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $374,544.11


  Part 2:                  Summarize Your Liabilities

                                                                                                                                                                          Your liabilities
                                                                                                                                                                          Amount you owe


2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of Claim, at the bottom of the last page of Part 1 of Schedule D. . . .                                         $110,087.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F . . . . . . . . . . . . . . . .                                    $0.00

                  3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F . . . . . . . . . . . . . . +                         $41,058.15

                                                                                                                                        Your total liabilities            $151,145.15


  Part 3:                  Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        $5,048.50

5. Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                $5,126.29




Official Form 106Sum                                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                  Page 1 of 2
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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 4:         Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11 or 13?
          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
         O Yes

7. What kind of debt do you have?
         O Your debts are primarily consumer debts. Consumer debts are those “incurred by and individual primarily for a personal, family, or household
         purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
           court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $6,711.87

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim

           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                            $0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                   $0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)         $0.00

           9d. Student loans. (Copy line 6f.)                                                          $0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report
               as priority claims. (Copy line 6g.)                                                     $0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)     + $0.00

           9g. Total. Add lines 9a through 9f.                                                         $0.00




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                          Page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       ____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________
                                                                                                                                                   Check if this is an amended filing
Official Form 106A/B

Schedule A/B: Property                                                                                                                                                                               12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
case number (if known). Answer every question.


 Part 1:                  Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?


  No. Go to Part 2.                                                    What is the property? Check all that apply.                             Do not deduct secured claims or exemptions. Put
                                                                                                                                                the amount of any secured claims on Schedule D:
 O Yes. Where is the property?                                          O Single-family home                                                    Creditors Who Have Claims Secured by Property.
                                                                         Duplex or multi-unit building
 1.1                                                                     Condominium or cooperative                                            Current value of the                  Current vale of the
 108 Wheatfield Lane                                                     Manufactured or mobile home                                           entire property?                      portion you own?
 Belgrade MT 59714                                                       Land                                                                  $360,000.00                           $360,000.00
                                                                         Investment property
 Gallatin County                                                         Timeshare                                                             Describe the nature of your ownership interest
                                                                         Other ___________________________                                     (such as fee simple, tenancy by the entireties,
                                                                                                                                                or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                                                                                                 Check if this is community property
                                                                        O Debtor 1 only                                                         (see instructions)
                                                                         Debtor 2 only
                                                                         Debtor 1 and Debtor 2 only
                                                                         At least one of the debtors and another

                                                                        Other information you wish to add about this
                                                                        item, such as local property identification
                                                                        number:___________________________




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including an entries for pages you have
 attached for Part 1. Write that number here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . º    $360,000.00




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Debtor 1 Mark Anthony Cybulski                                                                 Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that someone
else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3. Cars, vans, trucks, tractors, sport utility   Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
 vehicles, motorcycles                                                                                 the amount of any secured claims on Schedule D:
                                                  O Debtor 1 only                                      Creditors Who Have Claims Secured Claims by
  No                                              Debtor 2 only                                      Property
 O Yes                                             Debtor 1 and Debtor 2 only
                                                   At least one of the debtors and another
 3.1 Make: Ford
                                                   Check if this is a community property
    Model: F250 Pickup                            (see instructions)
                                                                                                       Current value of the      Current value of the
    Year: 2004
                                                                                                       entire property           portion you own?
    Approximate mileage: 160,000
                                                                                                       $2,935.00                 $2,935.00
    Other information:

    ____________________________


 If you own or have more than one, describe       Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
 here:                                                                                                 the amount of any secured claims on Schedule D:
                                                   Debtor 1 only                                      Creditors Who Have Claims Secured Claims by
 3.2 Make:                                         Debtor 2 only                                      Property
                                                   Debtor 1 and Debtor 2 only
    Model:                                         At least one of the debtors and another

    Year:                                          Check if this is a community property
                                                  (see instructions)                                   Current value of the      Current value of the
    Approximate mileage:                                                                               entire property           portion you own?

    Other information:                                                                                 $0.00                     $0.00

    ____________________________



 3.3 Make:                                        Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
                                                                                                       the amount of any secured claims on Schedule D:
    Model:                                         Debtor 1 only                                      Creditors Who Have Claims Secured Claims by
                                                   Debtor 2 only                                      Property
    Year:                                          Debtor 1 and Debtor 2 only
                                                   At least one of the debtors and another
    Approximate mileage:
                                                                                                       Current value of the      Current value of the
                                                   Check if this is a community property
                                                                                                       entire property           portion you own?
    Other information:                            (see instructions)
                                                                                                       $0.00                     $0.00
    ____________________________


 3.4 Make:                                        Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
                                                                                                       the amount of any secured claims on Schedule D:
    Model:                                         Debtor 1 only                                      Creditors Who Have Claims Secured Claims by
                                                   Debtor 2 only                                      Property
    Year:                                          Debtor 1 and Debtor 2 only
                                                   At least one of the debtors and another
    Approximate mileage:
                                                                                                       Current value of the      Current value of the
                                                   Check if this is a community property
                                                                                                       entire property           portion you own?
    Other information:                            (see instructions)
                                                                                                       $0.00                     $0.00
    ____________________________




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Debtor 1 Mark Anthony Cybulski                                                                                                       Case number (if known) __________________________
         First Name, Middle Name, Last Name

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

O No
 Yes


 4.1 Make:                                                          Who has an interest in the property? Check one.                             Do not deduct secured claims or exemptions. Put
                                                                                                                                                the amount of any secured claims on Schedule D:
     Model:                                                          Debtor 1 only                                                             Creditors Who Have Claims Secured Claims by
                                                                     Debtor 2 only                                                             Property.
     Year:                                                           Debtor 1 and Debtor 2 only
                                                                     At least one of the debtors and another                                   Current value of the                  Current value of the
     Other information:                                                                                                                         entire property?                      portion you own?
                                                                     Check if this is a community property
     ____________________________                                   (see instructions)                                                          $0.00                                 $0.00

If you own or have more than one, list here:


 4.2 Make:                                                          Who has an interest in the property? Check one.                             Do not deduct secured claims or exemptions. Put
                                                                                                                                                the amount of any secured claims on Schedule D:
     Model:                                                          Debtor 1 only                                                             Creditors Who Have Claims Secured Claims by
                                                                     Debtor 2 only                                                             Property.
     Year:                                                           Debtor 1 and Debtor 2 only
                                                                     At least one of the debtors and another                                   Current value of the                  Current value of the
     Other information:                                                                                                                         entire property?                      portion you own?
                                                                     Check if this is a community property
     ____________________________                                   (see instructions)                                                          $0.00                                 $0.00


 5. Add the dollar value of the portion you own for all of your entries from Part 2, including an entries for pages you have
 attached for Part 2. Write that number here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . º     $2,935.00




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Debtor 1 Mark Anthony Cybulski                                                                                                      Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 3:         Describe Your Personal and Household Items


 Do you own or have any legal or equitable interest in any of the following items?                                                                                                  Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct
                                                                                                                                                                                    secured claims or
 6.        Household goods and furnishings                                                                                                                                          exemptions.
           Examples: Major appliances, furniture, linens, china, kitchenware
            No
           O Yes. Describe . . . . . . . . living room furniture, dining room set, kitchen appliances                                                                               $3,000.00

 7.        Electronics
            Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
           collections; electronic devices including cell phones, cameras, media players, games

            No
           O Yes. Describe . . . . . . . . (3) televisions                                                                                                                          $300.00

 8.        Collectibles of value
            Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
           stamp, coin, or baseball card collections; other collections, memorabilia, collectibles.

           O No
            Yes. Describe . . . . . . . .                                                                                                                                          $0.00

 9.        Equipment for sports and hobbies
            Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis, canoes
           and kayaks; carpentry tools; musical instruments.

           O No
            Yes. Describe . . . . . . . .                                                                                                                                          $0.00
 10.       Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment.

            No
           O Yes. Describe . . . . . . . . 9mm Glock
                                                                                                                                                                                    $529.00
 11.       Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

            No
           O Yes. Describe . . . . . . . . everything clothing
                                                                                                                                                                                    $400.00
 12.       Jewelry
            Examples: Everyday jewelry, costume jewelry, engagement rings, heirloom jewelry, watches, gems, gold, silver

            No
           O Yes. Describe . . . . . . . . wedding ring                                                                                                                             $1,700.00

 13.       Non-farm animals
           Examples: Dogs, cats, birds, horses

            No
           O Yes. Describe . . . . . . . . dog                                                                                                                                      $0.00

 14.       Any other personal household items you did not already list, including any health aids you did not list

           O No
            Yes. Give specific information                                                                                                                                         $0.00

 15.       Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for Part 3.
           Write that number here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . º   $5,929.00




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Debtor 1 Mark Anthony Cybulski                                                                                                  Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 4:           Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                               Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                          or exemptions.

16.        Cash
           Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           O No
            Yes _______________________ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               $0.00

17.        Deposits of money
           Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
           houses, another similar institutions. If you have multiple accounts with the same institution, list each.

            No
           O Yes . . . . . . . . . .
                                       17.1 Checking account:               Rocky Mountain Bank (account ending 3488)                                     $100.00

                                       17.2 Checking account:               Stockman Bank (account ending 9673 - opened 03/01/2019)                       $100.00

                                       17.3 Checking account:                                                                                            $0.00

                                       17.3 Savings account:                Rocky Mountain Bank (account ending 4488)                                     $0.00

                                       17.4 Savings account:                                                                                             $0.00

                                       17.5 Savings account:                                                                                             $0.00

                                       17.5 Certificates of deposit:                                                                                     $0.00

                                       17.6 Other financial account:                                                                                     $0.00



18.        Bonds, mutual funds, or publicly traded stocks
           Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           O No
            Yes . . . . . . . . . . Institution or issuer name:                                                                                         $0.00



19.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
           LLC, partnership, and joint venture

           O No                                   Name of entity:                                                  % of ownership:
            Yes. Give
           specific information                  _______________________________________ _________________%                                               $0.00
           about them . . . . . .
                                                  _______________________________________ _________________%                                              $0.00

                                                  _______________________________________ _________________%                                              $0.00




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Debtor 1 Mark Anthony Cybulski                                                                       Case number (if known) __________________________
         First Name, Middle Name, Last Name



20.      Government and corporate bonds and other negotiable and non-negotiable instruments

         Negotiable instruments include personal checks, cashier’s checks, promissory notes, and money orders.
         Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
         O No
          Yes. Give specific           Issuer name:
         information about them . . . . ________________________________________________________________                           $0.00

                                       ________________________________________________________________                            $0.00

                                       ________________________________________________________________                            $0.00

21.      Retirement or pension accounts
         Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
         O Yes. List each
         account separately . . . .    Type of account:              Institution name:

                                       401(k) or similar plan:                                                                     $0.00

                                       Pension plan:                                                                               $0.00

                                       IRA:                                                                                        $0.00

                                       Retirement account:             Principal                                                   $5,480.11

                                       Keogh:                                                                                      $0.00

                                       Additional account:                                                                         $0.00

                                       Additional account:                                                                         $0.00

22.      Security deposits and prepayments
         Your share of all unused deposits you have made so that you may continue service or use from a company
         Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
         companies, or others
         O No
          Yes . . . . . . . . . . . . . .                           Institution name or individual:

                                       Electric                                                                                    $0.00

                                       Gas:                                                                                        $0.00

                                       Heating Oil:                                                                                $0.00

                                       Security deposit on rental:                                                                 $0.00

                                       Prepaid rent:                                                                               $0.00

                                       Telephone:                                                                                  $0.00

                                       Water:                                                                                      $0.00

                                       Rented Furniture:                                                                           $0.00

                                       Other:                                                                                      $0.00

23.      Annuities. (A contract for a periodic payment of money to you, either for life or for a number of years)
         O No
          Yes . . . . . . . . . . . . . . Issuer name and description:                                                            $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                     Page 6
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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name

24.      Interests in a education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
         26 U.S.C. §§ 530(b)(1), 529A(b), and 526(b)(1).
         O No
          Yes . . . . . . . . . . . . . . Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521©:

                                                                                                                                      $0.00

25.      Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
         exercisable for your benefit.
         O No
          Yes. Give specific
         information about them . . . .                                                                                               $0.00

26.      Patents, copyrights, trademarks, trade secrets, and other intellectual property
         Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
         O No
          Yes. Give specific
         information about them . . . .                                                                                               $0.00

27.      Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
         O No
          Yes. Give specific
         information about them . . . .                                                                                               $0.00

Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions

28.      Tax refunds owed to you
         O No
          Yes. Give specific information
         about them, including whether                                                                           Federal:             $0.00
         you already filed the returns
         and the tax years . . . . . . . . . . .                                                                 State                $0.00

                                                                                                                 Local                $0.00

29.      Family Support
         Examples: Past due or lump sum alimony, spousal support, maintenance, divorce settlement, property settlement
         O No
          Yes. Give specific Information . . . .
                                                                                                          Alimony:                    $0.00

                                                                                                                 Maintenance:         $0.00

                                                                                                                 Support:             $0.00

                                                                                                                 Divorce Settlement $0.00

                                                                                                                 Property Settlement $0.00

30.      Other amounts someone owes you
         Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
         Social Security Benefits; unpaid loans you made to someone else
         O No
          Yes. Give specific . . . . . . . _____________________________________________________________________                $0.00
                 information




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Debtor 1 Mark Anthony Cybulski                                                                                                       Case number (if known) __________________________
         First Name, Middle Name, Last Name

31.        Interests in insurance policies
           Examples: Health, disability, or life insurance, health savings account (HSA); credit, homeowner’s, or renter’s insurance

           O No
            Yes.       Name the insurance company                            Company name:                                          Beneficiary:                            Surrender or refund value:
                        of each policy and list its value . . . . .
                                                                                                                                                                             $0.00

                                                                                                                                                                             $0.00

                                                                                                                                                                             $0.00

32.        Any interest in property that is due you from someone who has died
           If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
           property because someone has died.

           O No
            Yes. Give specific information . . . . . . .                                                                                                                    $0.00

33.        Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
           Examples: Accidents, employment disputes, insurance claims, or rights to sue

           O No
            Yes. Describe each claim . . . . . . . . .                                                                                                                      $0.00

34.        Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

           O No
            Yes. Describe each claim . . . . . . . . . .                                                                                                                    $0.00

35.        Any financial assets you did not already list

           O No
            Yes. Give specific information . . . . . . .                                                                                                                    $0.00

36.        Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for part 4.
           Write that number here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . º $5,680.11


 Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.        Do you own or have any legal or equitable interest in any business-related property?

           O No. Go to Part 6.
            Yes. Go to line 38.
                                                                                                                                                                             Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                             or exemptions.
38.        Accounts receivable or commissions you already earned

           O No
            Yes. Describe . . . . . . .                                                                                                                                     $0.00

39.        Office equipment, furnishings, and supplies
           Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks,
           chairs, electronic devices

           O No
            Yes. Describe . . . . . . .                                                                                                                                     $0.00




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Debtor 1 Mark Anthony Cybulski                                                                                                    Case number (if known) __________________________
         First Name, Middle Name, Last Name

40.        Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           O No
            Yes. Describe . . . . . . .                                                                                                                                 $0.00

41.        Inventory

           O No
            Yes. Describe . . . . . . .                                                                                                                                 $0.00


42.        Interests in partnerships or joint ventures

           O No
            Yes. Describe . . . . . . .          Name of entity:                                                   % of ownership:

                                                                                                                                   %                                     $0.00



43.        Customer lists, mailing lists, or other compilations

           O No.
            Yes.       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 1014(41A))?
                         No
                         Yes. Describe . . . . . . . .                                                                                                                  $0.00

44.        Any business-related property you did not already list

           O No
            Yes. Give specific information . . . . .                                                                                                                    $0.00

                                                                                                                                                                         $0.00

                                                                                                                                                                         $0.00

45.        Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
           for Part 5. Write that number here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . º $0.00


 Part 6:           Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                   If you own or have an interest in farmland, list it in Part 1.

46.        Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

           O No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                          Current value of the
                                                                                                                                                                          portion you own?
                                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                                          or exemptions
47.        Farm animals
           Examples: Livestock, poultry, farm-raised fish
           O No
            Yes. . . . . . .                                                                                                                                            $0.00




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Debtor 1 Mark Anthony Cybulski                                                                                                        Case number (if known) __________________________
         First Name, Middle Name, Last Name

48.        Crops - either growing or harvested

           O No
            Yes. Give specific information . . . . . . .                                                                                                                      $0.00

49.        Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

           O No
            Yes . . . . . . . .      .                                                                                                                                        $0.00

50.        Farm and fishing supplies, chemicals, and feed

           O No
            Yes . . . . . . . .      .                                                                                                                                        $0.00

51.        Any farm - and commercial fishing-related property you did not already list
           O No
            Yes. Give specific information . . . . . . . .                                                                                                                    $0.00

52.        Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached for part 6.
           Write that number here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . º $0.00


 Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above


53.        Do you have other property of any kind you did not already list?
           Examples: Season tickets, country club membership

           O No
            Yes. Give specific information . . . . .                                                                                                                          $0.00

                                                                                                                                                                               $0.00

                                                                                                                                                                               $0.00

54.        Add the dollar value of all of your entries from Part 7. Write that number here . . . . . . . . . . . . . . . . . . . . . . . . . . º $0.00



 Part 8:            List the Totals of Each Part of this Form


55.        Part 1: Total real estate, line 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . º $360,000.00

56.        Part 2: Total vehicles, line 5                                                    $2,935.00

57.        Part 3: Total personal and household items, line 15                               $5,929.00

58.        Part 4: Total financial assets, line 36                                           $5,680.11

59.        Part 5: Total business-related property, line 45                                  $0.00

60.        Part 6: Total farm-and fishing-related property, line 52                          $0.00

61.        Part 7: Total other property not listed, line 54                              + $0.00

62.        Total personal property. Add lines 56 through 61. . . . . . . . $14,544.11                                    Copy personal property total . . . . . º $14,544.11

63.        Total all property on Schedule A/B. Add line 55 + line 62 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $374,544.11




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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       ____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________

                                                                                                         Check if this is an amended filing
Official Form 106C

Schedule C: The Property You Claim as Exempt
                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions - such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds-may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:                  Identify the Property You Claim as Exempt

1.               Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

                 O You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
                  You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.               For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


 Brief description of the property and line            Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 on Schedule A/B that lists this property              portion you own
                                                                                Check only one box for each exemption.
                                                       Copy the value from
                                                       Schedule A/B

 Brief                                                                           $__________________                       Mont. Code Ann.
 description: Household goods & furnishings            $3,300.00                O 100% of fair market value, up to any      §25-13-609(1) MCA
                                                                                applicable statutory limit
 Line from
 Schedule A/B: 6, 7

 Brief                                                 $400.00                   $__________________                       Mont. Code Ann.
 description: Clothes                                                           O 100% of fair market value, up to any      §25-13-609(1) MCA
                                                                                applicable statutory limit
 Line from
 Schedule A/B: 11

 Brief                                                 $2,935.00                 $__________________                       Mont. Code Ann.
 description: 2004 Ford F250 Pickup                                             O 100% of fair market value, up to any      §25-13-609(2) MCA
                                                                                applicable statutory limit
 Line from
 Schedule A/B: 3.1

 Brief                                                                           $__________________                       Mont. Code Ann.
 description: Jewelry                                  $1,700.00                O 100% of fair market value, up to any      §25-13-609(1) MCA
                                                                                applicable statutory limit
 Line from
 Schedule A/B: 12




Official Form 106C                                                       Schedule C: Property                                                  Page 1 of 2
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Debtor 1 Mark Anthony Cybulski                                                                          Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:         Additional Page


 Brief description of the property and line        Current value of the        Amount of the exemption you claim             Specific laws that allow exemption
 on Schedule A/B that lists this property          portion you own
                                                                               Check only one box for each exemption.
                                                   Copy the value from
                                                   Schedule A/B

 Brief                                             $5,480.11                    $__________________                         Mont. Code Ann.
 description: Retirement                                                       O 100% of fair market value, up to any        §31-2-106(3) MCA
                                                                               applicable statutory limit
 Line from
 Schedule A/B: 21

 Brief                                             $360,000.00                  $__________________                         Mont. Code Ann.
 description: Homestead Declaration                                            O 100% of fair market value, up to any        §70-32-101 MCA
 Date Recorded: February 12, 2019                                              applicable statutory limit
 Line from
 Schedule A/B: 1.1

 Brief                                             $529.00                      $__________________                         Mont. Code Ann.
 description: Guns and Sporting Goods                                          O 100% of fair market value, up to any        §25-13-609(1) MCA
                                                                               applicable statutory limit
 Line from
 Schedule A/B: 10

 Brief                                             $5,378.00                    $__________________                         Mont. Code Ann.
 description: Earnings                                                         O 100% of fair market value, up to any        §25-13-614(1) MCA
                                                                               applicable statutory limit
 Line from
 Schedule I: 2

3.         Are you claiming a homestead exemption of more than $160,375?
           (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

           O No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                     No
                     Yes




Official Form 106C                                                      Schedule C: Property                                                    Page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       ____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________

                                                                                                               Check if this is an amended filing
Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property
                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
your name and case number (if known).

1.               Do any creditors have claims secured by your property?
                  No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
                 O Yes. Fill in all the information below.


 Part 1:                  List All Secured Claims

2.               List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If more than one creditor has a
                 particular claim, list the other creditors in Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name.


 2.1                                                  Describe the property that secures the claim:                 Column A              Column B           Column C
 Dubuque Bank                                                                                                       Amount of Claim       Value of           Unsecured
 1398 Central Avenue                                  108 Wheatfield Lane                                           Do not deduct the     collateral         portion
 Dubuque IA 52001                                     Belgrade MT 59714                                             value of the          that supports      if any
                                                                                                                    collateral.           this
                                                                                                                                          claim

 Who owes the debt? Check one                         As of the date you file, the claim is: check all that         110,087.00            $360,000.00        $0.00
 O Debtor 1 only                                      apply.
  Debtor 2 only                                       Contingent
  Debtor 1 and Debtor 2 only                          Unliquidated
  At least one of the debtors and another             Disputed
  Check if this claim relates to a
 community debt                                       Nature of lien. Check all that apply.
                                                      O An agreement you made (such as mortgage or
 Date debt was incurred May 2016                      secured car loan)
                                                       Statutory lien (such as tax lien, mechanic’s lien)
                                                       Judgment lien from a lawsuit
                                                       Other (including a right to offset) _________________

                                                      Last 4 digits of account number 1147

 Add the dollar value of your entries in Column A on this page. Write that number here:                             $110,087.00




Official Form 106D                                     Schedule D: Creditors Who Have Claims Secured by Property                                      Page 1 of 1
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Debtor 1 Mark Anthony Cybulski                                                                    Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:        List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect form you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons
to be notified for any debts in Part 1, do not fil out or submit this page.


                                                                                One which line in Part 1 did you enter the creditor? _______

                                                                                Last 4 digits of account number




                                                                                One which line in Part 1 did you enter the creditor? _______

                                                                                Last 4 digits of account number




                                                                                One which line in Part 1 did you enter the creditor? _______

                                                                                Last 4 digits of account number




                                                                                One which line in Part 1 did you enter the creditor? _______

                                                                                Last 4 digits of account number




                                                                                One which line in Part 1 did you enter the creditor? _______

                                                                                Last 4 digits of account number




Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                  Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       ____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________

                                                                                                       Check if this is an amended filing
Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to an executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially
secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it
out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and
case number (if known).


 Part 1:                  List All of Your PRIORITY Unsecured Claims

1.               Do any creditors have priority unsecured claims against you?
                 O No. Go to Part 2.
                  Yes.

2.               List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
                 each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
                 nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
                 unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.


 2.1                                                         Last 4 digits of account number                                  Total claim       Priority        Nonpriority
                                                                                                                                                amount          amount
                                                             When was the debt incurred?

                                                             As of the date you file, the claim is: check all that apply.     $0.00             $0.00           $0.00
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
 Who incurred the debt? Check one
  Debtor 1 only                                             Type of PRIORITY unsecured claim:
  Debtor 2 only                                              Domestic support obligations
  Debtor 1 and Debtor 2 only                                 Taxes and certain other debts you owe the government
  At least one of the debtors and another                    Claims for death or personal injury while you were
  Check if this claim is for a community                    intoxicated
 debt                                                         Other. Specify
 Is the claim subject to offset?
  No
  Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 1 of 1
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Debtor 1 Mark Anthony Cybulski                                                                           Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:          List All of Your NONPRIORITY Unsecured Claims

3.         Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           O Yes

4.         List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
           nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
           included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured
           claims fill out the Continuation Page of Part 2.
                                                                                                                                               Total claim

 4.1                                                                  Last 4 digits of account number 4642                        $16,458.71
 Discover Card
 PO Box 790213                                                        When was the debt incurred? 1999
 St. Louis MO 63179-0213
                                                                      As of the date you file, the claim is: check all that
                                                                      apply.
                                                                       Contingent
 Who incurred the debt? Check one                                      Unliquidated
 O Debtor 1 only                                                       Disputed
  Debtor 2 only
  Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
  At least one of the debtors and another                             Student Loans
  Check if this claim is for a community debt                         Obligations arising out of a separation agreement
 Is the claim subject to offset?                                      or divorce that you did not report as priority claims
 O No                                                                  Debts to pension or profit-sharing plans, and other
  Yes                                                                similar debts
                                                                      O Other. Specify credit card - household expenses




 4.2                                                                  Last 4 digits of account number 3545                        $4,800.00
 Home Depot Credit Services
 PO Box 6028                                                          When was the debt incurred? 2016 - 2017
 The Lakes, NV 88901-6028
                                                                      As of the date you file, the claim is: check all that
                                                                      apply.
                                                                       Contingent
                                                                       Unliquidated
 Who incurred the debt? Check one                                      Disputed
 O Debtor 1 only
  Debtor 2 only                                                      Type of NONPRIORITY unsecured claim:
  Debtor 1 and Debtor 2 only                                          Student Loans
  At least one of the debtors and another                             Obligations arising out of a separation agreement
  Check if this claim is for a community debt                        or divorce that you did not report as priority claims
 Is the claim subject to offset?                                       Debts to pension or profit-sharing plans, and other
 O No                                                                 similar debts
  Yes                                                                O Other. Specify credit card - household expenses




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 1 of 2
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Debtor 1 Mark Anthony Cybulski                                                                    Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.3, followed by 4.4, and so forth.


                                                                                                                                     Total claim

 4.3                                                            Last 4 digits of account number 1001                    $19,799.44
 American Express
 PO Box 6618                                                    When was the debt incurred? 2016 - 2018
 Omaha, NE 68105-0618
                                                                As of the date you file, the claim is: check all that
                                                                apply.
                                                                 Contingent
                                                                 Unliquidated
 Who incurred the debt? Check one                                Disputed
 O Debtor 1 only
  Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
  Debtor 1 and Debtor 2 only                                    Student Loans
  At least one of the debtors and another                       Obligations arising out of a separation agreement
  Check if this claim is for a community debt                  or divorce that you did not report as priority claims
 Is the claim subject to offset?                                 Debts to pension or profit-sharing plans, and other
 O No                                                           similar debts
  Yes                                                          O Other. Specify credit card - household expenses




 4.4                                                            Last 4 digits of account number                         unknown
 Parkland Legal Group, PL
 5531 North University Drive, Suite 103                         When was the debt incurred? 2017
 Coral Springs, FL 33067
                                                                As of the date you file, the claim is: check all that
                                                                apply.
                                                                 Contingent
                                                                 Unliquidated
 Who incurred the debt? Check one                                Disputed
 O Debtor 1 only
  Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
  Debtor 1 and Debtor 2 only                                    Student Loans
  At least one of the debtors and another                       Obligations arising out of a separation agreement
  Check if this claim is for a community debt                  or divorce that you did not report as priority claims
 Is the claim subject to offset?                                 Debts to pension or profit-sharing plans, and other
 O No                                                           similar debts
  Yes                                                          O Other. Specify debt resolution services




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 2
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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name


    Part 3:         List Others to Be Notified About a Debt That You Already Listed

5             Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
              collection agency is trying to collect form you for a debt you owe to someone else, list the creditor in Parts 1 or 2, then list the collection
              agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here.
              If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fil out or submit this page.


    Eeva Wendorf                                                                 One which entry in Part 1 or Part 2 did you enter the creditor?
    Rodenburg Law Firm
    PO Box 2427                                                                  Line 4.3 of (check one):    Part 1: Creditors with Priority Unsecured Claims
    Fargo ND 58108-2427                                                                                     O Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                 Last 4 digits of account number 1001




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1 of 1
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Debtor 1 Mark Anthony Cybulski                                                                      Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 4:         Add the Amounts for Each Type of Unsecured Claim

6.         Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159. Add the
           amounts for each type of unsecured claim.

                                                                                                                     Total Claim


 Total claims      6a. Domestic support obligations                                                          6a.      $0.00
 from Part 1
                   6b. Taxes and certain other debts you owe the government                                  6b.      $0.00

                   6c. Claims for death or personal injury while you were intoxicated.                       6c.      $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.               6d. +    $0.00

                   6e. Total. Add lines 6a through 6d.                                                       6e.      $0.00

                                                                                                                     Total Claim


 Total claims      6f. Student loans                                                                         6f.      $0.00
 from Part 2
                   6g. Obligations arising out of a separation agreement or divorce that you did not         6g.      $0.00
                   report as priority claims.

                   6h. Debts to pension or profit-sharing plans, and other similar debts.                    6h.      $0.00

                   6i. Other. Add all other nonpriority unsecured claims. Write that amount here.            6i +     $0.00

                   6j. Total. Add lines 6f through 6i.                                                       6j.      $0.00




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       ____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________
                                                                                                               Check if this is an amended filing
Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases
                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the additional page, fill it out, number the entries, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.               Do you have any executory contract or unexpired leases?
                 O No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fil lin all of the information below even if the contract or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.               List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
                 example, rent, vehicle lease, cell phone).


 Person or company with whom you have the contract or lease                                State what the contract or lease is for

 2.1




Official Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       _____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________
                                                                                                                Check if this is an amended filing
Official Form 106H

Schedule H: Your Codebtors                                                                                                                                      12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as a complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and
number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case
number (if known). Answer every question.

1.               Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.
                 O No
                  Yes

2.               Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
                 California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

                 O No. Go to line 3.
                  Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                           No.
                           Yes. In which community state or territory did you live?       . Fill in the name and current address of that person.


                             Name of your spouse, former spouse, or legal equivalent

                             Number        Street

                             City                           State                ZIP Code

3.               In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
                 line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
                 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
                 Column 2.


 Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt

 3.1                                                                                         Check all schedules that apply:

                                                                                              Schedule D, line ______
                                                                                              Schedule E/F, line ______
                                                                                              Schedule G, line ______




Official Form 106H                                                             Schedule H: Your Codebtors                                             Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       ____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________


Official Form 106I                                                                                  Check if this is an amended filing
                                                                                                     An amended filing
                                                                                                     A supplemental showing postpetition chapter 13 income of the
                                                                                                     of the following date:
                                                                                                    ____________________
                                                                                                    MM / DD / YYYY

Schedule I: Your Income                                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying
correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are
separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to
this form. On the top of any additional pages, write your name and case number (f known). Answer every question.


 Part 1:                  Describe Employment

                                                                                  Debtor 1                                  Debtor 2 or non-filing spouse

 1. Fill in your employment
 information.                                   Employment Status                 O Employed                                 Employed
                                                                                   Not Employed                            O Not Employed
 If you have more than one job,
 attach a separate page with
 information about additional                   Occupation                        Driver
 employers.
                                                Employer’s name                   Red Mountain Truck Lines
 Include part-time, seasonal or self-
 employed work.                                 Employer’s address                2807 South Montana
                                                                                  Butte MT 59701
 Occupation may include student or
 homemaker, if it applies.                      How long employed there?          1.5 years


 Part 2:                  Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.
                                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                                               non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll deductions). If not
 paid monthly, calculate what the monthly wage would be.                                              2.                        $5,378.00                      $0.00

 3. Estimate and list monthly overtime pay.                                                           3.                             $0.00                     $0.00

 4. Calculate gross income. Add line 2 + line 3.                                                      4.                        $5,378.00                      $0.00

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                5a.                       $1,274.23                      $0.00

     5b. Mandatory contributions for retirement plans                                                 5b.                            $0.00                     $0.00

     5c. Voluntary contributions for retirement plans                                                 5c.                         $252.10                      $0.00

     5d. Required repayments of retirement fund loans                                                 5d.                            $0.00                     $0.00




Official Form 106I                                                   Schedule I: Your Income                                                    Page 1 of 2
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Debtor 1 Mark Anthony Cybulski                                                                      Case number (if known) __________________________
         First Name, Middle Name, Last Name


                                                                                         For Debtor 1      For Debtor
                                                                                                           2 or non-
                                                                                                           filing
                                                                                                           spouse

    5e. Insurance                                                              5e.              $389.17           $0.00

    5f. Domestic support obligations                                           5f.                $0.00           $0.00

    5g. Union dues                                                             5g.                $0.00           $0.00

    5h. Other deductions. Specify:                                             5h.                $0.00           $0.00

 6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.             6.              $1,915.50          $0.00

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.        7.              $3,462.50          $0.00

 8. List all other income regularly received:

  8a. Net income from rental property and from operating a business,
      profession, or farm.
      Attach a statement for each property and business showing gross
      receipts, ordinary and necessary business expenses, and the total
      monthly net income.                                                      8a.                $0.00           $0.00

 8b. Interest and dividends                                                    8b.                $0.00           $0.00

 8c. Family support payments that you, a non-filing spouse, or a
     dependent regularly receive.
     Include alimony, spousal support, child support, maintenance, divorce
     settlement, and property settlement.                                      8c.                $0.00           $0.00

 8d. Unemployment Compensation                                                 8d.                $0.00           $0.00

 8e. Social Security                                                           8e.                $0.00           $0.00

 8f. Other government assistance that you regularly receive
 Include cash assistance and the value (if known) any non-cash
 assistance that you receive, such as food stamps (benefits under the
 Supplemental Nutrition Assistance Program) or housing subsidies.
 Specify: adoption assistance                                                  8f.                $0.00      $1,586.00



 8g. Pension or retirement income                                              8g.                $0.00           $0.00

 8h. Other monthly income. Specify:                                            8h.                $0.00           $0.00

 9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                   9.                 $0.00      $1,586.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing        10.             $3,462.50     $1,586.00            $5,048.50
     spouse.

11. State all regulator contributions to the expenses that you list in Schedule J.
    Include contributions form an unmarried partner, members of your household, your dependants, your roommates, and other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _____________________________________________________________________________________ 11. +                           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies. 12.     $5,048.50
                                                                                                                                Combined monthly income
13. Do you expect an increase or decrease within the year after you file this form?

          O No.
           Yes. Explain:




Official Form 106I                                                   Schedule I: Your Income                                              Page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       _____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________

Official Form 106J                                                                                   Check if this is:
                                                                                                      An amended filing
                                                                                                      A supplement showing postpetition chapter 13 expenses as of the
                                                                                                       following date:
                                                                                                     ____________________
                                                                                                     MM / DD / YYYY

Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.
 Part 1:                  Describe Your Household

1. Is this a joint case?

                 O No. Go to line 2.
                  Yes. Does Debtor 2 live in a separate household?

                              No.
                              Yes. Debtor 2 must file Official Form 106-J-2, Expenses for Separate Household of Debtor 2
 2. Do you have dependants?                              No                                         Dependent’s relationship to     Dependent’s       Does
                                                        O Yes. Fill out this information for         Debtor 1 or Debtor 2            age               dependent live
                                                        each dependent ...........................                                                     with you?

 Do not list Debtor 1 and Debtor 2.                                                                                                                     No
                                                                                                     Son                             6 years old       O Yes

 Do not state the dependents’ names.                                                                                                                    No
                                                                                                     Son                             5 years old       O Yes

                                                                                                                                                        No
                                                                                                                                                        Yes
3. Do your expenses include O No
   expenses of people other  Yes
   than yourself and your
   dependents?


 Part 2:                  Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date
after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.


 Include expenses paid for with non-cash government assistance if you know the value of such assistance and have                              Your expenses
 included it on Schedule I: Your Income (Official Form 106I)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for
 the ground or lot.                                                                                                                 4.                 $980.00

        If not included in line 4:

          4a. Real estate taxes                                                                                                     4a.                   $0.00

          4b. Property, homeowner’s, or renter’s insurance                                                                          4b.                   $0.00




Official Form 106J                                                           Schedule J: Your Expenses                                               Page 1 of 3
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Debtor 1 Mark Anthony Cybulski                                                                    Case number (if known) __________________________
         First Name, Middle Name, Last Name
                                                                                                                              Your expenses

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.               $300.00

      4d. Homeowners’s association or condominium dues                                                               4d.                $50.00

 5. Additional mortgage payments for your residence, such as home equity loans                                       5.                  $0.00

 6. Utilities:

    6a. Electricity, heat, natural gas                                                                               6a.               $250.00

    6b. Water, sewer, garbage collection                                                                             6b.                $76.00

    6c. Telephone, cell phone, internet, satellite, and cable services                                               6c.               $323.29

    6d. Other. Specify:                                                                                              6d.                 $0.00

 7. Food and housekeeping supplies                                                                                   7.              $1,200.00

 8. Childcare and children’s education costs                                                                         8.                $211.00

 9. Clothing. Laundry, and dry cleaning                                                                              9.                $400.00

 10. Personal care products and services                                                                             10.                $75.00

 11. Medical and dental expenses                                                                                     11.               $340.00

 12. Transportation. Include gas, maintenance, bus or train fare (do not include car payments).                      12.               $500.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.               $200.00

 14. Charitable contributions and religious donations                                                                14.                 $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
     15a. Life insurance                                                                                             15a.                $0.00

     15b. Health insurance                                                                                           15b.                $0.00

     15c. Vehicle insurance                                                                                          15c.              $125.00

     15d. Other insurance. Specify: AARP                                                                             15d.               $16.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                       16.                 $0.00

 17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                                17a.                $0.00

      17b. Car payments for Vehicle 2                                                                                17b.                $0.00

      17c. Other. Specify:                                                                                           17c.                $0.00

      17d. 17c. Other. Specify:                                                                                      17d.                $0.00

 18. Your payments of alimony, maintenance, and support you did not report as deducted from your pay on
     line 5, Schedule I, Your income (Official Form 106I)                                                            18.                 $0.00

 19. Other payments you make to support others who do not live with you.
     Specify:                                                                                                        19.                 $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

      20a. Mortgage on other property                                                                                20a.                $0.00

      20b. Real estate taxes                                                                                         20b.                $0.00

      20e. Homeowner’s association or condominium dues                                                               20e.                $0.00

Official Form 106J                                                 Schedule J: Your Expenses                                        Page 2 of 3
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Debtor 1 Mark Anthony Cybulski                                                                   Case number (if known) __________________________
         First Name, Middle Name, Last Name


 21. Other: Specify: pet food and care                                                                              21.                $80.00

 22. Calculate your monthly expenses.                                                                               22.

      22a. Add lines 4 through 21.                                                                                  22a.            $5,126.29

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106-J-2                         22b.                $0.00

      22c. Add lines 22a and 22b. The result is your monthly expenses.                                              22c.            $5,126.29

 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                             23a.            $5,048.50

      23b. Copy your monthly expenses from line 22c above.                                                          23b.            $5,126.29

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                                   23c.                $0.00
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         O No.
          Yes. Explain:




Official Form 106J                                               Schedule J: Your Expenses                                         Page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       ____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________
                                                                                                        Check if this is an amended filing
Official Form 106Dec

Declaration About an Individual Debtor’s Schedules
                                                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                          Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

O No
 Yes. Name of person _____________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature
                                                                   (Official Form 119).

Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.

W /s/ Mark Anthony Cybulski                                                     W________________________________________________________
Signature of Debtor 1                                                            Signature of Debtor 2

Date April 8, 2019                                                                Date _________________________
     MM / DD / YYYY                                                               MM / DD / YYYY




Official Form 106Dec                                 Declaration About an Individual Debtor’s Schedules
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 Fill in this information to identify your case:

 Debtor 1              Mark Anthony Cybulski

 Debtor 2
 (Spouse, if filing)
                       _____________


 United States Bankruptcy Court for the District of Montana

 Case number _______________________________
                                                                                                         Check if this is an amended filing
Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


 Page 1:                  Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?
         O Married
          Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
         O No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


 Debtor 1:                                                         Dates Debtor 1     Debtor 2:                                                Dates Debtor 2
                                                                   lived there                                                                 lived there

                                                                   From                Same as Debtor 1                                        Same as
                                                                   To                                                                          Debtor 1

                                                                                                                                               From
                                                                                                                                               To

                                                                   From                Same as Debtor 1                                        Same as
                                                                   To                                                                          Debtor 1

                                                                                                                                               From
                                                                                                                                               To

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and
territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
            O No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1 Mark Anthony Cybulski                                                                       Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:          Explain the Sources of Your Income

4.         Did you have any income from employment or from operating a business during this year or the two previous calender years? Fill in the total
           amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
            No
           O Yes. Fill in the details.


                                              Debtor 1                                                   Debtor 2

                                              Sources of Income            Gross Income                  Sources of Income            Gross Income
                                              Check all that apply         (before deductions and        Check all that apply.        (before deductions and
                                                                           exclusions)                                                exclusions)

 From January 1 of current year until         O Wages, commissions,        $16,373.98
 the date you filed for bankruptcy:           bonuses, tips

                                               Operating a business


 For last calender year:                      O Wages, commissions,        $64,535.92
 (January 1 to December 31, 2018)             bonuses, tips

                                               Operating a business


 For last calender year:                      O Wages, commissions,        $28,161.00
 (January 1 to December 31, 2017)             bonuses, tips

                                               Operating a business


5.         Did you receive any other income during this year or the two previous calender years?
           Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
           and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
           winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

           List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
           O Yes. Fill in the details.


                                              Debtor 1                                                   Debtor 2

                                              Sources of Income            Gross Income from             Sources of Income            Gross Income from
                                              Describe below.              each source                   Describe below.              each source
                                                                           (before deductions and                                     (before deductions and
                                                                           exclusions)                                                exclusions)

 From January 1 of current year until
 the date you filed for bankruptcy:           Tax Refunds                  $10,119.00
                                              Adoption Assistance          $4,758.00


 For last calender year:
 (January 1 to December 31, 2018)             Tax Refunds                  $8,852.32
                                              Adoption Assistance          $21,252.00



 For last calender year:
 (January 1 to December 31, 2017)             Tax Refunds                  $11,096.00
                                              Adoption Assistance          $21,252.00
                                              IRA Distribution             $5,000.00
                                              Unemployment Benefits        $1,237.00




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Debtor 1 Mark Anthony Cybulski                                                                           Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 3:           List Certain Payments You Made Before You Filed for Bankruptcy

6.         Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family or household purpose.”

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                     O No.     Go to Line 7.
                      Yes.    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                               creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                               payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/2016 and every 3 years after that for cases filed on or after the date of adjustment.

           O Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     O No.     Go to Line 7.
                      Yes.    List below each creditor to whom you paid a total of $600 or more in one or more payments and the total amount you paid that
                               creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                               payments to an attorney for this bankruptcy case.


 Creditor’s Name and Address                        Dates of        Total amount paid                Amount you still owe             Was this payment for ...
                                                    Payments

                                                                    $                                $                                 Mortgage
                                                                                                                                       Car
                                                                                                                                       Credit card
                                                                                                                                       Loan repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other

                                                                    $                                $                                 Mortgage
                                                                                                                                       Car
                                                                                                                                       Credit card
                                                                                                                                       Loan repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other

                                                                    $                                $                                 Mortgage
                                                                                                                                       Car
                                                                                                                                       Credit card
                                                                                                                                       Loan repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other




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Debtor 1 Mark Anthony Cybulski                                                                             Case number (if known) __________________________
         First Name, Middle Name, Last Name

7.         Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
           Insiders include your relatives; and general partners; relatives of any general partners; partnerships of which you are a general partner; corporations fo
           which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
           business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           O No
            Yes. List all payments to an insider.


 Insider’s Name and Address                           Dates of
                                                      Payment        Total amount paid                 Amount you still owe             Reason for this payment


                                                                     $                                 $




8.         Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefitted an
           insider? Include payments on debts guaranteed or consigned by an insider?

           O No
            Yes. List all payments that benefitted an insider.


 Insider’s Name and Address                           Dates of       Total amount paid                 Amount you still owe             Reason for this payment
                                                      Payment                                                                           Include creditor’s name


                                                                     $                                 $




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures


9.         Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
           List all such matters, including persona injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
           and contract disputes.

            No
           O Yes. Fill in the details.


 Case title                                          Nature of the case               Court or agency                                           Status of the case
 Case number

 American Express National Bank v. Mark              Collection                       District Court Gallatin County Montana                    O Pending
 Cybulski                                                                                                                                        On appeal
                                                                                                                                                 Concluded
 Case number: DV-18-1276B




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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name

10.        Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
           Check all that apply and fill in the details below.

           O No. Go to line 11.
            Yes. Fill in the information below.


  Creditor Name and Address                                             Describe the property                           Date            Value of the property

                                                                        Explain what happened

                                                                        Explain what happened

                                                                         Property was repossessed.
                                                                         Property was foreclosed.
                                                                         Property was garnished.
                                                                         Property was attached, seized, or levied.

                                                                        Explain what happened

                                                                         Property was repossessed.
                                                                         Property was foreclosed.
                                                                         Property was garnished.
                                                                         Property was attached, seized, or levied.

11.        Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
           accounts or refuse to make a payment because you owed a debt?

           O No
            Yes. Fill in the details.


 Creditor Name and Address                                              Describe the action the creditor took                  Date action      Amount
                                                                                                                               was taken

                                                                        Last 4 digits of account number:                                        $




12.        Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
           appointed receiver, a custodian, or another official?

           O No
            Yes



 Part 5:           List Certain Gifts and Contributions


13.        Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           O No
            Yes. Fill in the details for each gift.


 Gifts with a total value of more than $600 per person                  Describe the gifts                                     Dates you        Value
                                                                                                                               have the gifts
 Person to Who You Gave the Gift and Address:




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Debtor 1 Mark Anthony Cybulski                                                                             Case number (if known) __________________________
         First Name, Middle Name, Last Name

14.        Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

           O No
            Yes. Fill in the details for each gift or contribution.


 Gifts or contributions to charities that total more than $600               Describe what you contributed                         Date you       Value
                                                                                                                                   contributed


                                                                                                                                                  $




 Part 6:          List Certain Losses


15.        Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
           gambling?

           O No
            Yes. Fill in the details.


 Describe the property you lost and how the loss occurred                    Describe any insurance coverage for the loss          Date of your   Value of
                                                                             Include the amount that insurance has paid. List      loss           Property lost
                                                                             pending insurance claims on line 33 of Schedule
                                                                             A/B: Property


                                                                                                                                                  $




 Part 7:          List Certain Payments or Transfers


16.        Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
           consulted about seeking bankruptcy or preparing a bankruptcy petition?
           Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
           O Yes. Fill in the details.


 Person Who Was Paid                                       Description and value of any property                  Date payment or transfer was    Amount of
 Address                                                   transferred                                            made                            payment
 Email or website address
 Person Who Made the Payment, if Not You

 Stuart R. Whitehair                                       Attorney’s fees                                        March 11, 2019                  $1,535.00
 Stuart R. Whitehair, P.C.
 2123 Durston Road, Suite 17
 Bozeman MT 59718
 stuartwhitehair@gmail.com

 CC Advising, Inc.                                         Credit Counseling                                      February 11, 2019               $9.76
 703 Washington Avenue, Suite 200
 Bay City, MI 48708
 ccadvising.com


 Parkland Legal Group, PL                                  Debt Resolution                                        October 2017 to October 2018    $400.00/month
 5531 North University Drive, Suite 103                                                                           October 2018 to December 2018   $480.00/month
 Coral Springs, FL 33067
 parklandlegalgroup.com


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Debtor 1 Mark Anthony Cybulski                                                                      Case number (if known) __________________________
         First Name, Middle Name, Last Name

17.        Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
           promised to help you deal with your creditors or to make payments to your creditors?
           Do not include any payment or transfer that you listed on line 16.

           O No
            Yes. Fill in the details.


 Person Who Was Paid                                               Description and value of any property transferred          Date payment         Amount of
 Address                                                                                                                      or transfer          payment
                                                                                                                              was made

                                                                                                                                                   $




18.        Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
           transferred in the ordinary course of your business or financial affairs?
           Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
           Do not include gifts and transfers that you have already listed on this statement.


            No
           O Yes. Fill in the details.


 Person Who Received Transfer                                      Description and value of any       Described any property or                    Date Transfer
 Address                                                           property transferred               payments received or debts paid in           was made
                                                                                                      exchange
 Person’s relationship to you

 Maureen Cybulski                                                  Timeshare (nominal value).         Debtor paid $757.00 in fees in order         March 20,
 108 Wheatfield Lane                                                                                  to be eligible to transfer interest in       2019
 Belgrade MT 59714                                                                                    timeshare.

 Wife

19.        Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device or which you are a
           beneficiary? (These are often called asset-protection devices.)

           O No
            Yes. Fill in the details.


 Name of Trust                                       Description and value of the property transferred       Date transfer was made




 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.        Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold
           moved, or transferred?
           Include checking, savings, money market, or other financial accounts; certificates or deposit; shares in banks, credit unions, brokerage
           houses, pension funds, cooperative, associations, and other financial institutions.

           O No
            Yes. Fill in the details.


 Name of Financial Institution and            Last 4 digits of account number      Type of account or          Date account was            Last balance before
 Address                                                                           instrument                  closed, sold, moved,        closing or transfer
                                                                                                               or transferred

 Rocky Mountain Bank                          xxxx-7450                            O Checking                  February 12, 2019           $0.00
 2901 West Main Street                                                              Savings
 Bozeman MT 59718                                                                   Money market
                                                                                    Brokerage
                                                                                    Other ____________
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Debtor 1 Mark Anthony Cybulski                                                                               Case number (if known) __________________________
         First Name, Middle Name, Last Name

21.            Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash,
               or other valuables?

               O No
                Yes. Fill in the details.


    Name of Financial Institution                   Who else had access to it?                   Describe the contents                            Do you still have it?
    Address                                         Address




22.            Have you stored property in a storage unit or place other than your home within 1 year before you filed bankruptcy?

               O No
                Yes. Fill in the details.
    Name of Storage Facility                        Who else has or had access to it?            Describe the contents                               Do you still have
    Address                                                                                                                                          it?

                                                                                                                                                     $




    Part 9:           Identify Property You Hold or Control for Someone Else

23.            Do you old or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

               O No
                Yes. Fill in the details.


    Owner’s Name                                    Where is the property?                       Describe the property                              Value
    Address

                                                                                                                                                     $




    Part 10:          Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

#              Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous toxic substances,
               wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these
               substances, wastes, or material.
#              Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own,
               operate, or utilize it, including disposal sites.
#              Hazardous material means anything or environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, contaminant, or similar term.

Report all notes, releases, and proceedings that you know about, regardless of when they occurred.

24.            Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

               O No
                Yes. Fill in the details.


    Name of site                                      Governmental unit                              Environmental law, if you now it                    Date of notice
    Address                                           Address




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Debtor 1 Mark Anthony Cybulski                                                                       Case number (if known) __________________________
         First Name, Middle Name, Last Name

25.         Have you notified any governmental unit of any releases of hazardous material?

            O No
             Yes. Fill in the details.



 Name of site                                    Governmental unit                         Environmental law, if you now it             Date of notice
 Address                                         Address




26.         Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            O No
             Yes. Fill in the details.


 Case Title                                      Court or agency                           Nature of the case                           Status of the
 Case Number                                     Name                                                                                   case
                                                 Address


                                                                                                                                         Pending
                                                                                                                                         On appeal
                                                                                                                                         Concluded



 Part 11:          Give Details About Your Business or Connections to Any Business

27.         Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor of self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation

O No. None of the above applies. Go to Part 12.
 Yes. Check all that apply above and fill in the details below for each business.


 Business Name                                Describe the nature of the business             Employer Identification number
 Address
                                              Name of accountant or bookkeeper                Do not include Social Security number or ITIN.

                                                                                              EIN:

                                                                                              Dates business existed:

                                                                                              From            To




                                                                                              EIN:

                                                                                              Dates business existed:

                                                                                              From            To




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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name

28.         Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
            institutions, creditors, or other parties.

            O No
             Yes. Fill in the details below.


 Name                                           Date issued
 Address


                                                ______________
                                                MM / DD / YYYY



 Part 12:          Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

            W /s/ Mark Anthony Cybulski                                                  W ___________________________________________________
            Signature of Debtor 1                                                 Signature of Debtor 2

            Date April 8, 2019                                                    Date __________________

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official From 107)?

O No
 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

O No
 Yes. Name of person ___________. Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1     Mark Anthony Cybulski

 Debtor        2 _____________
 (Spouse, if filing)



 United States Bankruptcy Court for the District of Montana

 Case number _______________________________
                                                                                                           Check if this is an amended filing
Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7
                                                                                                                                                               12/15

If you are an individual filing under Chapter 7, you must fill out this form if :
#          creditors have claims secured by your property, or
#          you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for meeting or creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1:          List Your Creditors Who Have Secured Claims

1.         For any creditors that you listed in Part 1 or Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
           information below.


 Identify the creditor and the property that is collateral       What do you intend to do with the property that           Did you claim the property as exempt
                                                                 secures a debt?                                           on Schedule C?


 Creditor’s                                                       Surrender the property.                                  No
 name: Dubuque Bank                                               Retain the property and redeem it.                      O Yes
                                                                 O Retain the property and enter into a
 Description of                                                    Reaffirmation Agreement.
 property                                                         Retain the property and [explain]:
 securing debt: 108 Wheatfield Lane, Belgrade MT                 _________________________________________



 Creditor’s                                                       Surrender the property.                                  No
 name:                                                            Retain the property and redeem it.                       Yes
                                                                  Retain the property and enter into a
 Description of                                                    Reaffirmation Agreement.
 property                                                         Retain the property and [explain]:
 securing debt:                                                  _________________________________________



 Creditor’s                                                       Surrender the property.                                  No
 name:                                                            Retain the property and redeem it.                       Yes
                                                                  Retain the property and enter into a
 Description of                                                    Reaffirmation Agreement.
 property                                                         Retain the property and [explain]:
 securing debt:                                                  _________________________________________



 Creditor’s                                                       Surrender the property.                                  No
 name:                                                            Retain the property and redeem it.                       Yes
                                                                  Retain the property and enter into a
 Description of                                                    Reaffirmation Agreement.
 property                                                         Retain the property and [explain]:
 securing debt:                                                  _________________________________________




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Debtor 1 Mark Anthony Cybulski                                                                         Case number (if known) __________________________
         First Name, Middle Name, Last Name


 Part 2:         List Your Unexpired Personal Property Leases

For any expired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
information below. Do not list real estate leases. Unexpired Leases are leases that are still in effect; the lease period has not yet ended. You may
assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).


 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor’s name:                                                                                                                 No
                                                                                                                                Yes
 Description of leased
 property:

 Lessor’s name:                                                                                                                 No
                                                                                                                                Yes
 Description of leased
 property:

 Lessor’s name:                                                                                                                 No
                                                                                                                                Yes
 Description of leased
 property:

 Lessor’s name:                                                                                                                 No
                                                                                                                                Yes
 Description of leased
 property:


 Part 3:         Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that is subject
to an unexpired lease.

           W /s/ Mark Anthony Cybulski                                         W ___________________________________________________
           Signature of Debtor 1                                                  Signature of Debtor 2

           Date April 8, 2019                                                     Date __________________
                MM / DD / YYYY                                                        MM / DD / YYYY




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